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                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                         AMARILLO DIVISION


ALLIANCE FOR HIPPOCRATIC
MEDICINE, on behalf of itself, its member
organizations, their members, and these
members’ patients, et al.,

           Plaintiffs,
                                            Case No. 2:22-cv-00223-Z
      v.

U.S. FOOD AND DRUG
ADMINISTRATION, et al.,

           Defendants.

              PLAINTIFFS’ BRIEF IN SUPPORT OF
    CONSOLIDATING THE PRELIMINARY INJUNCTION HEARING
       WITH A TRIAL ON THE MERITS UNDER RULE 65(A)(2)
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                                  INTRODUCTION

      Plaintiff medical associations, doctors, and their patients have asked this

Court to enter an order, while this case proceeds, to hold the FDA to its statutory

duty to protect America’s women and girls from the harms of dangerous chemical

abortion drugs.

      For two decades, the FDA has harmed women and girls by allowing

dangerous chemical abortion drugs on the market and by failing to ensure even the
most basic safeguards on their use. Without regard for federal law or sound

medicine, the FDA has facilitated the creation of a mail-order and online abortion

economy. This suit was brought by the local emergency room doctors, OB/GYNs,

and other medical professionals who have cared for an increasing number of women

seeking medical attention after taking this dangerous drug regimen. For two

decades, these doctors have sought to protect their patients, navigating the FDA’s

byzantine administrative process to challenge the FDA’s actions. The FDA has

stonewalled Plaintiffs at every turn, imposing bureaucratic delay after bureaucratic

delay—at one point, dragging its feet for over fourteen years—just so that the FDA

could try to keep the doctors out of court and avoid judicial review of its actions.

      It is now far past time for the FDA to be ordered to put politics aside, follow

the law, and protect America’s women and girls. The best way to do so is by
promptly consolidating the preliminary injunction hearing with the trial on the

merits under Rule 65(a). The Court should also order the swift production of the

administrative record and expedite the case for trial. This course of action will and

promote judicial efficiency by avoiding briefing the same legal issues in multiple

rounds before the Court. And it will enable the Court resolve this case on the merits

without prejudicing Plaintiffs and without introducing further delay—delay which

will result in continued harm to women and girls.




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                                   BACKGROUND

      For two decades, the FDA has failed America’s women and girls by allowing

chemical abortion drugs on the market and by failing to require minimum

safeguards on their use. Complaint, ECF No. 1 at 1–2. Plaintiff medical

associations, doctors, and their patients have thus asked this Court to enter

injunctive and declaratory relief against the FDA, as well as to hold unlawful,

vacate, and set aside each of the FDA’s actions that approved chemical abortion
drugs and that removed the safeguards on their use. Id. at 110–11.

      Before the Court is the soon-to-be complete briefing on Plaintiffs’ preliminary

injunction motion. Plaintiffs immediately moved for a preliminary injunction to

require the FDA to withdraw or suspend each of its actions while this case proceeds.

ECF No. 6, 7. The FDA and Intervenor-Defendant Danco Laboratories have now

filed their opposition briefs, ECF No. 19-1, 28; Plaintiffs’ reply to the FDA’s

opposition is due today, February 10, 2023; and Plaintiffs’ reply to Danco’s

opposition is due February 24, 2023. The Court has yet to schedule a hearing or oral

argument on Plaintiff’s preliminary injunction motion.

      The Court ordered the parties to submit separate briefs on whether the Court

should consolidate the injunction hearing and the trial on the merits under Federal

Rule of Civil Procedure 65(a)(2). ECF No. 32.

                                LEGAL STANDARD

      Under Federal Rule of Civil Procedure 65(a), “[b]efore or after beginning the

hearing on a motion for a preliminary injunction, the court may advance the trial on

the merits and consolidate it with the hearing.” This rule gives the district court

“broad discretion in deciding whether to consolidate a preliminary injunction with

the hearing of the motion for the permanent injunction.” Sonnier v. Crain, 613 F.3d

436, 442 (5th Cir. 2010), opinion withdrawn in part on reh’g on other grounds, 634



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F.3d 778 (5th Cir. 2011). “The rule permits the Trial Judge to flexibly merge and

hear the component parts of a case thereby avoiding repetition and unnecessary

delay.” Dillon v. Bay City Constr. Co., 512 F.2d 801, 804 (5th Cir. 1975).

Consolidation is appropriate so long as no party shows that consolidation will cause

surprise or prejudice to the party. Nationwide Amusements, Inc. v. Nattin, 452 F.2d

651, 652 (5th Cir. 1971).

      When a court consolidates a preliminary injunction hearing with the trial on

the merits, courts hear oral argument on any legal questions and hold a bench trial

on evidentiary issues to resolve any factual disputes. See, e.g., Fath v. Tex. Dep’t of

Transp., 924 F.3d 132, 136 (5th Cir. 2018) (per curiam) (bench trial in APA case).

The court then will “find the facts specially and state its conclusions of law

separately.” Fed. R. Civ. P. 52(a). The resulting hearing “really is a trial on the

merits.” 11A Charles Alan Wright & Arthur R. Miller, Federal Practice and

Procedure § 2950 (3d ed. Apr. 2022 update). If there are factual issues that could

“reasonably be resolved in favor of either party,” then summary judgment is

inappropriate, and “a finder of fact” must resolve them. Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 250 (1986).

                                     ARGUMENT

      This Court should expedite decision on this case and consolidate the

preliminary injunction motion with a trial on the merits under Rule 65(a). It is far

past time to order the FDA to rectify its lawless approval of mifepristone and to

remove chemical abortion drugs from the market, or, at a minimum, to strengthen

and restore safeguards on their use.

      To resolve this case promptly, and to avoid undue delay and prejudice to

Plaintiffs, the Court thus should consolidate the preliminary injunction hearing

with a prompt trial on the merits, stay Plaintiffs’ remaining claims, immediately



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direct the FDA to produce the complete administrative record, and set an expedited

schedule for trial.

I.       This Court should consolidate the preliminary injunction hearing
         with the trial on the merits.

         To resolve this case quickly and efficiently, the Court should consolidate the

preliminary injunction hearing with the trial on the merits under Rule 65(a).

         A.    This Court should bring this case to a prompt resolution on the
               merits.

         Consolidating the preliminary injunction hearing with a final trial on the

merits will avoid needless repetitive rounds of briefing and promote the prompt

resolution of this case.

         A prompt final judgment is in everyone’s interest. Quickly disposing of a case

on the merits can help plaintiffs by shortening the period of irreparable harm, can

help defendants by minimizing “the potential adverse effect” of interim injunctions,

and can help courts by avoiding “having the same evidence presented both at the

preliminary injunction stage and later at trial.” Wright & Miller, supra.

Consolidation can also help avoid burdening the court and the parties with multiple

rounds of briefing on the same dispositive legal issues. Assuming that proper notice

is given in advance, this approach allows for the expedition of the case while

preserving a fair opportunity for each party to raise all of its arguments, evidence,

and objections at trial. Wohlfahrt v. Mem’l Med. Ctr., 658 F.2d 416, 418 (5th Cir.

1981).

         For three reasons, the practice of consolidation makes particular sense here.

First, every party agrees that the outcome of this case will have far-reaching

consequences for parties and non-parties nationwide, ECF No. 7 at 24–25; ECF No.

19-1 at 2, 25, ECF No. 28 at 38–40, and so everyone benefits from the certainty that



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comes from avoiding interim orders and from a prompt final judgment. Second, this

Court can ensure that, even on an expedited schedule, every party has a full and

fair opportunity to present their case, including the opportunity for the FDA to

present the full administrative record. Third, the preliminary injunction briefing

raises many dispositive legal issues, and the parties have already addressed many

key documents in the administrative record and the declarations. There is no need

to brief the same issues on preliminary injunction motions, motions to dismiss,

motions for summary judgment, and motions after trial.

      In short, consolidating the preliminary injunction hearing with the trial on

the merits will thus avoid needless “repetition and unnecessary delay.” Dillon v.

Bay City Constr. Co., 512 F.2d 801, 804 (5th Cir. 1975).

      B.     This Court should stay Plaintiffs’ other claims.

      As part of consolidating the preliminary injunction hearing with the trial on

the merits, this Court should hold or stay Plaintiffs’ other claims or sub-claims

while the Court proceeds to consider entering a partial final judgment under Rule

54(b) on the legal claims presented in the preliminary injunction motion.

      Under Federal Rule of Civil Procedure 54(b), the Court may enter a partial

final judgment on only certain claims in a case upon certifying that there is “no just
reason for delay” of a partial final judgment on these claims. This Court can rule on

the claims in the preliminary injunction motion, without reaching other claims,

because there would be no just reason to delay the prompt resolution of so many

dispositive claims, particularly when it may be unnecessary to ever reach Plaintiffs’

additional claims.

      Any claims not presented in the preliminary injunction motion thus should be

stayed until after the resolution of any appeal, while reserving all rights to all




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parties. The parties may notify the Court after any appeal, or when and if further

litigation is necessary.

II.    The Court should expedite the case, direct the FDA to immediately
       produce the administrative record, and set an early schedule for
       trial.

       Consolidation need not—and should not—significantly extend the time that

the FDA’s actions continue to harm Plaintiff medical associations, doctors, and

patients. If this Court enters an order consolidating the preliminary injunction

hearing with the trial on the merits, the Court therefore should expedite this case

by directing the FDA to immediately collect and produce the administrative record

and by setting an expedited schedule for trial.

       A.    The Court should immediately direct the FDA to produce the
             complete administrative record.

       To avoid delay and prejudice to Plaintiffs, this Court should immediately

direct the FDA to collect the complete administrative record and produce it within

30 days. The Administrative Procedure Act requires a court to rule based on the

complete administrative record before the agency when the decision was made.

Citizens to Pres. Overton Park, Inc. v. Volpe, 401 U.S. 402, 420 (1971). Production of

the administrative record is thus necessary for the consolidation of the preliminary

injunction motion with the resolution of the merits. See Texas v. Biden, No. 2:21-

CV-067-Z, 2021 WL 4552546, at*2 (N.D. Tex. June 7, 2021). And the parties have

already attached much of the administrative record to their preliminary injunction

filings.

       But, in the past, the FDA has sought to avoid disclosing to the public the

complete documents surrounding the agency’s decisions about chemical abortion

drugs. The FDA’s publicly released decision documents regularly contain significant




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redactions of potential important information. 1 Likewise, in response to Freedom of

Information Act (FOIA) requests, the FDA has released only highly, and likely

improperly, redacted versions of select documents. 2 To avoid unnecessary delay of

the trial, it should be made clear at the outset that the FDA must immediately

collect (and presumptively must produce) an unredacted and complete version of the

administrative record for this case. See generally Gulf Coast Rod Reel & Gun Club,

Inc. v. U.S. Army Corps of Eng’rs, No. 3:13-CV-126, 2015 WL 1883522, at *3 (S.D.

Tex. April 20, 2015) (discussing circumstances when courts may order

supplementation of an incomplete administrative record, such as when the agency

omitted relevant evidence or documents).

        Redactions may be appropriate for responses to requests for information

under FOIA, but the same redactions are not appropriate in an action under the

Administrative Procedure Act. After all, a “FOIA production request is an entirely

discrete legal concept that bears no relation to the administrative record compiled

for a court’s review under the APA.” Del. Dep’t of Nat. Res. & Env’t Control v. U.S.

Army Corp of Eng’rs, 722 F. Supp. 2d 535, 544 (D. Del. 2010). FOIA has specific,

limited exceptions to production but the administrative record under the APA

“should include all materials that ‘might have influenced the agency’s decision.’ ” La

Union del Pueblo Entero v. Fed. Emergency Mgmt. Agency, 141 F. Supp. 3d 681, 694

(S.D. Tex. 2015) (citation omitted).




1 See, e.g., App. 517-25, 624-52.
2 “The documents linked from this page have been redacted for certain information

that is exempt from disclosure under the Freedom of Information Act, 5 U.S.C.
sec. 552.” http://wayback.archive-it.org/7993/20161024033540/http://www.fda.gov/
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085168.htm.


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      B.     The Court should set an expedited schedule for trial.

      This Court also should expedite the case and set a prompt schedule for trial.

      First, this Court should set a prompt trial date. A bench trial should be held

as soon as possible, but no later than two months from the court’s consolidation

order. An early status conference, followed by a joint pretrial report, is likely the

most convenient way to identify the date, basic format, and length for the trial.

      Second, this Court should enter a scheduling order setting expedited
deadlines for limited supplemental briefing and for any motion practice necessary.

      To allow the parties to fully develop their case, supplemental briefing should

start immediately, limited to the legal claims presented in the preliminary

injunction motion. Supplemental briefing should concern only issues that were not

raised in the preliminary injunction motion but that are necessary for ruling on

Plaintiffs’ request for a partial final judgment. See Order, Texas v. Biden, No. 2:21-

cv-00067 (N.D. Tex. June 29, 2021), ECF No. 66 (providing for supplemental

briefing on legal standards, burdens of proof, and final remedies); Order, Texas v.

Biden, No. 2:21-cv-00067 (N.D. Tex. July 22, 2021), ECF No. 86 (calling for

supplemental briefing on final remedies). Supplemental briefing may be appropriate

here, for example, on the legal standard for granting partial final judgment and on

the appropriate final relief (e.g., a permanent injunction, vacatur, and a declaratory
judgment) but only as to the claims present in the preliminary injunction motion.

Plaintiffs’ supplemental brief of up to 20 pages should be due 14 days from the

Court’s order; any supplemental or response briefs from the FDA and Danco

Laboratories of the same lengths should be due 14 days later; and Plaintiffs’ reply of

up to 10 pages should be due 5 days afterward. Each party should also be allowed to

submit their proposed final judgment order.




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        Any motions disputing the inclusion or omission of items from the

administrative record, as well as any other motions raising evidentiary disputes, 3

should be expedited for decision before trial. These motions should be due within 7

days of the FDA’s designation of its final production; any responses should be due 5

days later; and any replies should be due 3 days afterward.

        If, after production of the final and complete administrative record, either

party needs to file a supplemental brief on how new items in the administrative

record bear on the issues in dispute at trial, any further supplemental briefs should

be briefed on an expedited schedule for decision before trial.

        Third, the Court should direct the parties to draft a joint pretrial report 20

days before trial identifying the parties’ preferred format for trial, identifying any

stipulations, and identifying the disputed issues of law and fact for trial. A

scheduling order at or near trial can set forth appropriate deadlines for the parties

to submit their post-trial proposed findings of fact and conclusions of law.

                                    CONCLUSION

        This Court should consolidate the preliminary injunction hearing with a trial

on the merits under Rule 65(a)(2), stay or hold Plaintiffs’ other claims, direct the

FDA immediately to collect and produce the complete administrative record, and set

an expedited schedule for trial.




3Plaintiffs do not anticipate discovery on these claims at this time, with the
exception of the production of the administrative record.


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Respectfully submitted February 10, 2023.

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